21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                    Pg 1 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                    Pg 2 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                    Pg 3 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                    Pg 4 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                    Pg 5 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                    Pg 6 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                    Pg 7 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                    Pg 8 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                    Pg 9 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 10 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 11 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 12 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 13 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 14 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 15 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 16 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 17 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 18 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 19 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 20 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 21 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 22 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 23 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 24 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 25 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 26 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 27 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 28 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 29 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 30 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 31 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 32 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 33 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 34 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 35 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 36 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 37 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 38 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 39 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 40 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 41 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 42 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 43 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 44 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 45 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 46 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 47 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 48 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 49 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 50 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 51 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 52 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 53 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 54 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 55 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 56 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 57 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 58 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 59 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 60 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 61 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 62 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 63 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 64 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 65 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 66 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 67 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 68 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 69 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 70 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 71 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 72 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 73 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 74 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 75 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 76 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 77 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 78 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 79 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 80 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 81 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 82 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 83 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 84 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 85 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 86 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 87 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 88 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 89 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 90 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 91 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 92 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 93 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 94 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 95 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 96 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 97 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 98 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 99 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 100 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 101 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 102 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 103 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 104 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 105 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 106 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 107 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 108 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 109 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 110 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 111 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 112 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 113 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 114 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 115 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 116 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 117 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 118 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 119 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 120 of 121
21-11791-scc   Doc 1   Filed 10/18/21 Entered 10/18/21 16:31:51   Main Document
                                   Pg 121 of 121
